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    '!;tAO 245D (CASD) (Rev. 1/12) Judgment in a Criminal Case for Revocations
                                                                                                                                                 .,
                Sheet I
                                                                                                                                      "~
                                                                                                                                       ~-4                1\7r'8: 21
                                              UNITED STATES DISTRICT COURT                                                             j',­




                                                    SOUTHERN DISTRICT OF CALIFORNIA
                                                                                                                                  f                   \
                    UNITED STATES OF AMERICA                                      JUDGMENT IN A CRIMINAL CASE
                                         V.                                       (For Revocation of Probation or Supervised Release)
                     GISELA PATRICIA CERON                                        (For Offenses Committed On or After November 1, 1987)


                                                                                  Case Number: 09CR3181-LAB

                                                                                   GERALD T. MCFADDEN
                                                                                  Defendant's Attorney
    REGISTRAnON No. 16189298
o
    THE DEFENDANT:
     1£1admitted guilt to violation ofallegation(s) No.. . ;;I_ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __

     D was found in violation of allegation(s) No.                                                       after denial of guilt.
    ACCORDINGLY, the court has adjudicated that the defendant is guilty ofthe following allegation(s):


    Allegation Number                         Nature of Violation
                              Failure to participate in drug aftercare program (nv21)




      Supervised Release       is revoked and the defendant is sentenced as provided in pages 2 through                    4          of this judgment.
    This sentence is imposed pursuant to the Sentencing Refonn Act of 1984.


             IT IS ORDERED that the defendant shall notify the United States Attorney for this district within 30 days of any
    change of name, residence, or mailing address until all fines, restitution, costs, and special assessments imposed by this judgment are
    fully paid. If ordered to pay restitution, the defendant shall notify the court and UnIted States Attorney of any material change in the
    defendant's economic circumstances.

                                                                                   APRIL 2, 2012

                                                                                  _.f_t:;~. ~


                                                                                  HON. LARRY ALAN BURNS
                                                                                  UNITED STATES DISTRICT JUDGE




                                                                                                                                              09CR3181-LAB
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AO 245D (CASD) (Rev. 1112) Judgment in a Criminal Case for Revocations
           Sheet 2 - imprisonment

                                                                                                          Judgment - Page       2     of        4
 DEFENDANT: GISELA PATRICIA CERON
 CASE NUMBER: 09CR3181.LAB
                                                                 IMPRISONMENT
         The defendant is hereby committed to the custody of the United States Bureau of Prisons to be imprisoned for a term of
         TIME SERVED ON 4/3/2012




    o    The court makes the following recommendations to the Bureau of Prisons:




     o The defendant is remanded to the custody of the United States MarshaL
     o   The defendant shall surrender to the United States Marshal for this district:
            Oat                                       Oa.m.          OP·m.    on _ _ _ _ _ _ _ _ _ _ __

                as notified by the United States Marshal.

     o   The defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons:
           o    before
                         ---------------------------------------------------------------
           o    as notified by the United States Marshal.
           o    as notified by the Probation or Pretrial Services Office.


                                                                         RETURN

 I have executed this judgment as follows:

         Defendant delivered on                                                             to

 at ________________________ , with a certified copy of this judgment.


                                                                                                        UNITED STATES MARSHAL

                                                                             By
                                                                                  ------------D~E~P-UTY---um--T~E~D-S~T-A~T~E~S-MAR--~SHA--L-------------




                                                                                                                                     09CR3181·LAB
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AD 2450 (CASO) (Rev. 1112) Judgment in a Criminal Case for Revocations
              Sheet 3 - Supervised Release
                                                                                                               Judgment-Page    ~         of _ _~4_ __
DEFENDANT: GISELA PATRICIA CERON                                                                       a
CASE NUMBER: 09CR3ISI-LAB
                                                           SUPERVISED RELEASE
Upon release from imprisonment, the defendant shall be on supervised release for a term of:
24 MONTHS

         The defendant shall report to the probation office in the district to which the defendant is released within 72 hours of release from
the custody of the Bureau of Pnsons.
The defendant shall not commit another federal, state or local crime.
For offonses committed on or after September J3, J994:
The defendant shall not illegally possess a controlled substance. The defendant shall refrain from any ·unlawful use of a controlled
substance. The defendant shall submit to one drug test within IS days ofrelease from imprisonment and at least two periodic drug tests
thereafter as determined by the court. Testing requirements will not exceed submission of more than 4 drug tests per month during
the term of supervision, unless otherwise ordered by court.                                          -­

o The above drug testing condition is suspended, based on the court's determination that the defendant poses a low risk of
  future substance abuse. (Check, if applicable.)

1&1 The defendant shall not possess a firearm, ammunition, destructive device, or any other dangerous weapon.
181 Backlog
    The defendant shall cooperate in the collection of a DNA sample from the defendant, pursuant to section 3 of the DNA Analysis
            Elimination Act of2000,pursuant to 18 USC sections 3563(a)(7) and 3583(d).
o       The detendant shall comply with tfie requirements of the Sex Offender Registration ana Notification Act (42 U.S.c. § 16901, et seq.) as directed
        by the probation officer, the Bureau ofPrisons, or any state sex offender registration agency in which he or she resides, works, is a student, or
        was convicted of a qualifying offense. (Check if applicable.)
o       The defendant shall participate in an approved program for domestic violence. (Check, if applicable.)
          If this judgment imposes a fine or restitution obligation, it is a condition of supervised release that the defendant pay any such fine
or restitution that remains unpaid at the commencement of the term of supervised release in accordance with the Schedule of Payments set
forth in this judgment.
         The defendant must comply with the standard conditions that have been adopted by this court. The defendant shall also comply with
any special conditions imposed.

                                        STANDARD CONDITIONS OF SUPERVISION
   I)    the defendant shall not leave the judicial district without the permission of the court or probation officer;
  2)     the defendant shall report to the probation officer in a manner and frequency directed by the court or probation officer;
  3)     the defendant shall answer truthfully all inquiries by the probation officer and follow the instructions of the probation officer;
  4)     the defendant shall support his or her dependents and meet other family responsibilities;
  5)     the defendant shall work regularly at a lawful occupation, unless excused by the probation officer for schooling, training, or other
         acceptable reasons;
  6)     the defendant shall notify the probation officer at least ten days prior to any change in residence or employment;
  7)     the defendant shall refrain from excessive use of alcohol and shall not purchase, possess, use, distribute, or administer any
         controlled substance or any paraphernalia related to any controlled substances, except as prescribed by a physician;
  8)     the defendant shall not frequent places where controlled substances are illegally sold, used, distributed, or administered;
  9)     the defendant shall not associate with any persons engaged in criminal activity and shall not associate with any person convicted of
         a felony, unless granted permission to do so by the probation officer;
 10)     the defendant shall permit a probation officer to visit him or her at any time at home or elsewhere and shall permit confiscation of any
         contraband observed in plain view of the probation officer;
 11 )     the defendant shall notify the probation officer within seventy-two hours ofbeing arrested or questioned by a law enforcement officer;
 12)     the defendant shall not enter into any agreement to act as an informer or a special agent of a law enforcement agency without the
         permission of the court; and
 13)     as directed by the probation officer, the defendant shall notifY third parties of risks that may be occasioned by the defendant's criminal
         record or personal history or characteristics and shall permit the probation officer to make such notifications and to confirm the
         defendant's compliance with such notification requirement.

                                                                                                                                        09CR31S1-LAB
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        AO 245D (CASD) (Rev. 1112) ludgment in a Criminal Case for Revocations
                   Sheet 4   Special Conditions
                                                                                                        Judgment-Page   --1.- of _ _4,,-_ _
        DEFENDANT: GISELA PATRICIA CERON                                                           II
        CASE NUMBER: 09CR3181-LAB




                                                SPECIAL CONDITIONS OF SUPERVISION
~ Submit person, residence, office or vehicle to a search, conducted by a United States Probation Officer at a reasonable time and in a
    reasonable manner; failure to submit to a search may be grounds for revocation; the defendant shall warn any other residents that the
    premises may be subject to searches pursuant to this condition.


D If deported. excluded, or allowed to voluntarily return to country of origin, not reenter the United States illegally and report to the probation
    officer within 24 hours of any reentry to the United States; supervision waived upon deportation, exclusion or voluntary departure.
Igj The defendant shall not commit another federal, state, or local crime.
Igj Not associate with undocumented aliens or alien smugglers.
D Not reenter the United States illegally.
~ Not enter the Republic of Mexico without written permission of the Court or probation officer.
~ Report all vehicles owned or operated, or in which you have an interest, to the probation officer.
D Not possess any narcotic drug or controlled substance without a lawful medical prescription.
D Not associate with known users of, smugglers of, or dealers in narcotics, controlled substances, or dangerous drugs in any form.
Igj Participate in a program of mental health treatment as directed by the probation officer, take all medications as prescribed by a
    psychiatrist/physician, and not discontinue any medication without permission. The Court authorizes the release of the presentence report
    and available psychological evaluations to the mental health provider, as approved by the probation officer. Allow for reciprocal release of
    information between the probation officer and the treatment provider. May be required to contribute to the costs of services rendered in an
    amount to be determined by the probation officer, based on the defendant's ability to pay.                                                   D
D Take no medication containing a controlled substance without valid medical prescription, and provide proof of prescription to the probation
    officer, if directed.
Igj Participate in the Victory Outreach program for 12 months
D Be prohibited from opening checking accounts or incurring new credit charges or opening additional lines of credit without approval of the
    probation officer.
Igj Seek and maintain full time employment and/or schooling or a combination of both.
D Resolve all outstanding warrants within                     days.
D Complete               hours of community service in a program approved by the probation officer within
D Reside in a Residential Reentry Center (RRC) as directed by the probation officer for a period of
Igj Participate in a program of drug or alcohol abuse treatment, including urinalysis or sweat patch testing and counseling, as directed by the
    probation officer. Allow for reciprocal release ofinforrnation between the probation officer and the treatment provider. May be required to
    contribute to the costs of services rendered in an amount to be determined by the probation officer, based on the defendant's ability to pay.




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